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                          Exhibit 2
     (Total Compensation and Expenses Requested)
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                                     Total Compensation and Expenses Requested

Professional Firm                      Category             Hours      Fees             Expenses       Total Billed
Stumphauzer Foslid Sloman Ross &
Kolaya, PLLC                           Attorneys              966.1       $328,625.00      $5,496.91       $334,121.91
Pietragallo Gordon Alfano Bosick &
Raspanti, LLP                          Attorneys             1,428.4      $525,211.75     $97,891.50       $623,103.25
Development Specialists, Inc.          Operations Consultant 2,452.5    $1,033,941.50     $33,280.57     $1,067,222.07
Lawgical Insight, LLC                  eDiscovery Specialist    73.0       $22,450.00        $353.37        $22,803.37
HD Investigative Group, LLC            Investigations Firm      71.5       $16,087.50          $0.00        $16,087.50
Fox Rothschild                         Attorneys                65.9       $23,220.50        $734.86        $23,955.36
                                                             6,557.8    $1,949,536.25    $137,757.21     $2,087,293.46
